Case 3:23-cv-00337 Document1 Filed on 10/12/23 in TXSD Page 1 of 12

UNITED STATES DISTRICT COURT

for the
District of __
Division
) Case No.
-) (to be filled in by the Clerk's Office)
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Phin) )
(Write the full name of each noe, vat is. fms ee coripiaint )
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ete “see aticched” in the apace and atieck an eddidonal page
with the full lst of nomics. Do not include eidvesses here.)

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Prisoner Complaint)

NOTICE

ivi i i resulting from public access to -
f Civil Procedure 5.2 addresses the vacy and cecumity CORCEMS Fi ag Srom pul
Fede vowel Giles. Under this rule, papave filed with the court should not contain: en individual's full social
security number or full birth date; the full mame of a person known to be a minor; o7 4 complete finamcial aecount
sumber. A filing may include only: the lest four digits of a gociel security number, the year of an individual's
birth; 2 minor's initials, and the last four digits of a financial sccount mumber. .

Except as noted ia this form, plaintiff need not send exhibits, afiidavits, grievance or wituess statements, or ay
other materials to the Clerk's Office with this complaint.

In order for your complaint to be filed, it musi be accompanied by the filing fee or an application to proceed in
forma pauperis. .

Poge Jof 11
The Parties to This Complaiut

A.

Tre PRatmeiiits)

Attach edditional pages if

Provide the information below for cach pleiatiff named in the complaint.

needed.

Name RoOswr yeAS Ware 7e.

All other names by which ab ‘ ‘

you hive been known: Aq § | OY

ID Number .

Current Institution Crotty ator CCR MW oS

Adéress

Code Son th +9551
Ciy - State Zip Code

The Defendant(s)

named in the complaint, whether the defendant is an
individual, a government agency, 6n organization, or a corporation. Meke suve that the defendant(s)
listed below are identical to those contained in the ebove caption. For an individual defendant, include
the person’s job or title (if drown) and check whether you ere bringing this complaint agains! them in their
individual cepecity or official capacity, or both. Attach additions] pages if needed.

Provide the information below for each defendant

Defendant No. } 6
Name OMSceR nreoslon
Job or Title (fbxown) EMC, POM
Shield Number
Employer
. Address . Can ETO LORE, De VALMONT
Cp Nod Atos aK Y¥A55\
Cy State Zip Code

[individual capacity Official capacity

Defendant No. 2 . _ .
mruecakon OoSce De Pot ymene

Name Ca

| Job or Title @finown) QAR LE, Deke OMA
Shield Number _ ee
Enoployer
Address Cp. VD

Been I ESSN
Cy State * Zip Code

CI Individual capacity [Clofficia capacity

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7 Ruigh 9 (Prisoner, ——— San — —— —

it for Violation of cwil

Defendant No. 3
_ nv JA

Name

Job or Title (known)
Shield Number
Employer

Address

Cy State Zio Code

Individual capacity Official capacity

Defendent No. 4
__ WA

Name

Job or Title (if iowa)
‘Shield Number
Employers

Address

City Svaie ip Code
Individus] capacity [__] Official capacity

Boots for Jurisdiction
or Jocal officials for the “deprivation of any rights, privileges, of

Under 42 U.S.C. § 1983, you may sue state

immunities secured by the Constitution and [federal laws)].” Under Bivens v. Six Unknown Narned Agents of
Federal Bureaw of Narcotics, 403 U.S. 388 (1971), you may sue federal officisis for the violation of certain
constitutional rights.

A. Ave you bringing suit egeinst (check all that apply):
[[} Federal officials (a Bivens claim)

[CY State or local officinls.(« § 1983 claim)
tion of any rights, privileges, or immunities secured by

B. Section 1983 allows claims alleging the “depriva
the Constitution and [federal laws).” 42 U.S.C. § 1983. If you sre suing vader section 1983, what

federal constitutional or statutory right(e) do you claim is/are being violated by state or local officials?

Cc. Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional sight(s) do you claim is/are being violated by federal

officials?

Poge 3of 1]

CY
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iV.

hs

Section 1983 allows defendants to be found lieble only when they have acted “under color of any
of any State or Territory or the District of Columbia.”

D.
siatute, ordinance, regulation, custom, OF usage,
42 US.C. § 1983. If you are suing under section 1983, explein how cach defendent acted under color
of state or local Jaw. If you are suing under Bivens, explain how each defendent acted under color of
federal Jaw. Attach additional pages if nceded..
Prisoner Stetus
Indicete whether you are a prisoner OF other confined person as follows (check all that apply):
Pretrial detainee
Civilly committed detainee
Immigration detainee
Convicted and sentenced state prisoner
Convicted and sentenced federal prisoner
Other (explain)
Statement of Claim

State es briefly as possible the facts of your case. Deseribe how each defendant wes personally involved in the
slieged wrongful action, slong with the dates and jocations of ali relevant events. You may wish to include
olved in the events giving rise to your claims. Do not cite

‘ig sach as the names of other persons invi
ed, number each claim and write a short and plain
al pages if needed.

further detail

any cases of statutes. If more than one claim is assert
statement of cach claim in a separate paragraph. Attach addition
A: If the events giving rise to your claim arose outside an institution, describe where and when they arose.

ne vy |
Con o>} WA edo Lon S>. one N fe Jo\uesin TY

If the events giving rise to your claim arose in en institution, describe where and when they arose.

N {A

B.

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P20, a EN: = a : i

Cc. What date and approximate time.did the events giving rise to your cleim(s) occur?

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N\ ny VH acond Ih ~m +0 1PM

D. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?) re” h 43
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Teebled FW Whe ye Pol tte cesme 44e oak ML Hee EARS cath so!
me eo dJo.are Jnon ASSeul hee wre oft Car Pear lgan - The Em) cues

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vy. Injorics —
If you sustained injuries related to the events alleged above, describe your injuries and state what medical
wreatment, if any, you ired and did or did not receive.

, .
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s.

joke Pee eh pX&e eb fe\s \ONa ™v) ft Bron Lond mot

Vi. Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the emounts of any actual damages and/or punitive damages claimed for

the acts alleged. Explain the basis for these claims.

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LoSe Dralhed:

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VE. Exhaustion of Administrative Remedies Administrative Procedures
‘The Prison Litigation Reform Act (“PLRA”), 42. U.S.C. § 1997e(a), requires that “fnjo action shell be brought
with respeel to prison conditions under section 1983 of this title, or any other Federal law, by # prisoner confined

in any jail, prisom, or other correctionel facility until such administrative remedies es are availalble are
exhausted.” ,

Administrative remedies are also known 8s grievance procedures. Your case msy be dismissed! if you heve not

exhausted your administrative remedies.

A, Did your claim(s) arise while you were confined in e jail, prison, or other correctional facility?

If yes, mame the jail, prison, o7 other correctional facility where you were confined at tine time of the
events wiving rise to your claim(s).

Ns

or other correctional facility where your cleim(s) arose have a gricvence

B. Does the jail, prison,
procedure?

Yes

(K

CL} Do not know

prison, or other correctional facility where your claum(s) arose

Does the grievance procedure at the jail,
cover some or all of your claims?

Yes
CO No .
CJ Do not know

If yes, which claim(s)?

N/R

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Crap

D, Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose
, . concerning the facts relating to this complaint?

Yes
I Ne
Hf no, did you file & grievance about the events described in th
other correctional facility?

is complaini at any other jail, prison, or

E, Hf you did file & grievance:
1, Where did you file the prievance?

LUIeA ke Oe grr Re Galles in Coos] SoS

- 9. What did you claim in your grievance? . .
uyay Oe WS Jor

gr MARL ge FRRCC/ Meorlan Ss
BOE ne fodsery doo me ys Jel) eno 0 San ee

tne

3, What was the result, if any?

QYRNS (yon 4 On Gc ft eS Pa nds

icion? Is the grievance process completed? I
Ito the highest level of the grievance process)

. 4. What steps, if any, did you take to appeal that dec
not, explain why not. (Describe all efforis to appea

15 Aly completes Athey havens
Jar ly ackh do me.

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F, If you did not file a grievance:
i. I there are any reesons why you did not file a grievance, siate them here:

N | A

2. If you did not file  gcievance but
when end how, and their response, if eny:

you did inform officials of your claim, siaie whro you informed,

Rte eG.
ae i\nd & g Pe VANE ALSq ef anform, the comp

re meray ennnrnl Ye We

Please set forth any additionel information that is relevant to the exhaustion of your adimninistrative

remedies.

EPS} 8me AALS oS Welle”

laint any documents related to the exhaustion of, ‘your

WSs Nor Yee +
(Note: You may attach as exhibits to this comp
administrative remedies.)

VIE. Previews Lawsults

civil ection or an appeal in federal court without paying
occasions, while incareesated or detained m any facility,
diemissed on the grounds that it is frivolow,
unless the prisoner is under imminent

sta a prisoner from bringing B
er has “on three or more prior
brought an action or appeal in a court of the United States that was
malicious, or fails to state a claim upon which relief may be granted,
danger of serious physical injury.” 28 U.S.C. § 1915(g).

To the best of your knowledge, have you had a case dismissed based on this “three strikes rule"?

Yes
[xo

If yes, state which court dismissed your case,

N ]M

” ‘The “three strikes rule” b
the filing fee if that prison

when this occurred, and attach copy of the order if possible.

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Pro Se 14 (Rev. 32/16) Comp aint for Violstion of Civil Rights (Prit0nst) ae eee

A. Have you filed other lewsuits in state or federal court dealing wiih the same facts involved in this

action?
Yes
Ex.
EB. . your answer to A is yes, describe cach lawsuit by answering questions 1 through 7 below. (Of there is
vibe the additional lawsuits on another page, using the same format.)

more than one lawsuit, desc

]. Parties to the previous lawsuit ‘
Plaintifi(s) N / A
Defendant(s) , Al / fy

2, Court (iffederal court, name the district; if'state court, name the county ond State)

3. Docket or index number
nN

4, Neme of Judge assigned to your case N / b

5, Approximate date of filing lawsuit N / A

6. Is the case still pending?

[] Yes
[| No . .
Nb

If no, give the approximate date of disposition.

7. What was the result of the case? (For. example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?) , 7

q /[®

erwise relating to the conditions of your

Have you filed other lawsuits in state or federal court oth

N/A ss
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No

describe cech lewsuil by answering questions | through 7 below. (Uf there is

D. Hf your answer to C is yes,
dditional lawsuits on another poge, using the sare format.)

more than one lawsuit, describe the a

i. Parties to the previous laweuit vl A
Plaintifi(s) | /

Defendant(s) N/ A
: 1

2. Court (if federal court, name the district; if state court, na

3, Docket or index number N / A
&. Nome of Judge assigned to your case N / A

me the county end State)

5, Approximate date of filing lewsuit N / fr

6. Isthe case stil! pending?
Yes

[1] no a nf

Ifno, give the approximate date of disposition

9, “Wiret was the sesult of the case? (For exaraple: Was the case dismissed? Was judgment entered

inyour favor? Was the case appealed?) - A

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Pro Se 14 (Rev. 12/1 6) Complamt for Violation of Civil Rights (Prisoner)

KX.

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause .
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law, (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the

requirements of Rule 11.

A, For Parties Without am Attorney

with any changes to my address where case~related papers may be

| agree to provide the Clerk’s Office
file with the Clerk’s Office may result

served. J understand that my failure to keep a current address on
in the dismissal of my case.

Date of signing: \O¢ OA wR
Signature of Plaintiff Koee@doliovt Nn pellpts? ) fp,

Printed Name of Plaintiff Koos erAle NS “AGS CY “ TR « ,
Prison Identification # Hy, GASLHS . :
Prison Address CIOS Aare WA

Gg nu255oO aX OSSS\

State Zip Code

E For Attorneys

Date of signing:

Signature of Attomey
Printed Name of Attomey

' Bar-Number
Name of Law Firm
Address

City State Zip Code

Telephone Number
E-mail Address

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